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Declaration of XuHua Mo

My name is Mo XuHua. I am the Overseas Business Manager of XiangPiaoPiao’s Overseas
Department. I made the follow statements based upon my own knowledge. I will testify
truthfully and competently to the best of my ability if called as a witness.

1.

In late October, 2020, I received email inquiry from attorney Ms. Wang, Shuting, who
represented Lin’s Waha (“LW”) and asked to confirm the fact of the exclusive grant to
OCM. I replied to attorney Ms. Wang and confirmed the fact of the exclusive
distributorship grant to OCM. I know the relevant documents re the brand authorization
were already produced to LW during the litigation case of OCM v. LW (“California
Case”), pending in California federal court.

Based upon the information XPP learned from the California case, LW purchased the
XPP domestic products (manufactured for China domestic consumption), and shipped to
US for resales. XPP is informed that LW claimed that such transaction is legitimate and
is protected under the “first sale doctrine”.

XPP learned from OCM’s counsel that the first sale doctrine would not protect LW from
liability because the XPP products sold by LW are materially different from the products
sold by OCM, who is the legitimate and exclusive distributor of XPP’s products
earmarked for US Market.

The material difference is because the XPP specifically manufacture its US-bound drink
products using milk/dairy sources from New Zealand or Australia, whereas the drinks
sold by LW used milk/dairy products from China domestic sources.

The main reason for the milk/dairy product using different sources is because the import
entry requirements set by USDA (US Department of Agriculture) and the agency APHIS
(Animal and Plant Health Inspection Service) under USDA. XPP’s domestic products
used milk/diary sources that are not tested for the USDA/APHIS compliance. As such,
XPP’s domestic products are never intended for U.S. markets, despite there is no concern
of the safety and quality of XPP domestic products.

XPP products manufactured for OCM, on the other hand, use sources from New Zealand
or Australia and XPP provide the veterinary certificate as the needed proof at import
entry to US that the products are complying with the USD/APHIS regulations.

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7. I learned that some of the LW’s products (those XPP domestic products LW purchased
and shipped to US for resales) were seized and destroyed by USDA for the reason of
failing to present needed certificate and failing the entry requirement set by
USDA/APHIS.

8. I attached a copy of my business card herein, showing my business contact information.

I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

 

Dated: Executed at: Hangzhou, China
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Signature: B
XuHua Mo

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XuHua Mo |
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